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                 Exhibit 6
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                      DEFENDANTS PERCIPIENT WITNESSES DEPOSITIONS

   DEPONENT                              DEFENDANT        DATE       LOCATION
   Song, In Hwan (Vol I - III)           Samsung SDI     12/12/2012 San Francisco, CA
   Lee, Dae Eui (Vol I - III)            Samsung SDI     1/16/2013   San Francisco, CA
   Kinoshita, Ayumu (Vol I - II)         Panasonic        2/5/2013   San Francisco, CA
   Son, Michael (Vol I - II)             Samsung SDI      2/5/2013   San Francisco, CA
   Iwamoto, Shinichi (Vol I - II)        Panasonic        2/7/2013   San Francisco, CA
   Sakashita, Kazuhiro (Vol I - III)     Hitachi         2/14/2013   San Francisco, CA
   Liu, Chih Chun (CC) (Vol I -III)      Chunghwa        2/19/2013   Tapei City, Taiwan
   Yang, Sheng-Jen (Vol I - III)         Chunghwa        2/22/2013   Tapei City, Taiwan
   Lu, Jing Song (Jason) (Vol I - II)    Chunghwa        2/27/2013   Tapei City, Taiwan
   Nishiyama, Hirokazu (Vol I - III)     Panasonic        3/5/2013   San Francisco, CA
   Park, Sang-Kyu (Vol I - III)          Samsung SDI     3/20/2013   Seoul, Korea
   Kim, Duck-Yun (Vol I - III)           Samsung SDI     3/27/2013   Seoul, Korea
   Kobayashi, Nobuhiko (Vol I - III)     Hitachi         5/15/2013   San Francisco, CA
   Ito, Nobuaki (Vol I - III)            Hitachi         5/22/2013   San Francisco, CA
   Kumazawa, Yuuichi (Vol I - III)       Hitachi         5/29/2013   San Francisco, CA
   Hazuku, Kenichi                       Hitachi         6/12/2013   Chicago, IL
   Kenichi, Hazuku                       Hitachi         6/12/2013   Chicago, IL
   Choi, Hoon (Ricky) (Vol I - III)      Samsung SDI     6/19/2013   San Francisco, CA
   Nishimaru, Kazuhiro (Vol I - III)     Toshiba         6/26/2013   San Francisco, CA
   Yamamoto, Yasuki (Vol I - III)        Toshiba          7/1/2013   San Francisco, CA
   Schmitt, Thomas (Vol I)               Hitachi         7/11/2013   Atlanta, GA
   Lee, Pil Jae (Vol I - II)             LG              7/16/2013   Baja California Sur, Mexico
   Jung, Jin Kang (Cesar) (Vol I - II)   LG              7/19/2013   Baja California Sur, Mexico
   Lee, Jae In (Vol I - III)             Samsung SDI     7/24/2013   San Francisco, CA
   Sanogawaya, Masaki (Vol I - III)      Panasonic       7/31/2013   San Francisco, CA
   Youn, Jun Yeol (Vol I -III)           Samsung SDI     9/11/2013   San Francisco, CA
   Tsuruta, Shinichiro (Vol I - III)     Toshiba         9/25/2013   San Francisco, CA
   Muramatsu, Masashi (Vol I - II)       Panasonic       10/8/2013   San Francisco, CA
   Oh, Kyung Chul (KC) (Vol I - IV)      Samsung SDI     11/19/2013 San Francisco, CA
   Smith, Jim (Vol I - II)               Philips         12/12/2013 Newcastle Gateshead, UK
   Vaartjes, Weibo (Vol I - II)          Philips         12/18/2013 San Francisco, CA
   Ryu, Duk Chul (Vol I - II)            LG              1/15/2014   San Francisco, CA

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   DEPONENT                               DEFENDANT              DATE       LOCATION
   Ryan, Daniel (Vol I - II)              Toshiba               1/28/2014   Washington, D.C.
   Canavan, Pat (Vol I - II)              Philips               1/30/2014   Washington, D.C.
   Hirai, Kazumasa (Vol I - III)          Hitachi                2/4/2014   San Francisco, CA
   Chu, Hun Sul (Vol I - III)             Samsung SDI           2/11/2014   San Francisco, CA
   Toyama, Noboru (Vol I - II)            Hitachi               3/11/2014   San Francisco, CA
   Chang, Yu-Hau                          Panasonic             3/12/2014   San Francisco, CA
   Zhang, Yu-Hao (Vol I - II)             Panasonic             3/13/2014   San Francisco, CA
   Sung, Sung Kook (Vol I - III)          Samsung SDI           3/18/2014   San Francisco, CA
   Heiser, L. Thomas (Vol I - II)         Hitachi USA           3/18/2014   Atlanta, GA
   O'Brien, Bob (Vol I - II)              Philips               3/20/2014   New York, NY
   Hsu, Chih-Yen (Michael) (Vol I - II)   Panasonic              5/8/2014   San Francisco, CA
   Killen, Joseph                         Philips               5/15/2014   Washington, D.C.
   Fujita, Norio (Vol I - III)            Toshiba                6/4/2014   San Francisco, CA
   Mortier, Kris (Vol I - II)             Philips                6/9/2014   Washington, D.C.
   Nishimura, Kazutaka (Vol I - III)      Toshiba               6/10/2014   San Francisco, CA
   Kim, Woong Rae (Vol I - II)            Samsung SDI            7/2/2014   San Diego, CA
   Johnson, Jeffrey (Vol I - II)          Philips               8/13/2014   Washington, D.C.
   Choi, Gyu In (Quin) (Vol I - II)       LG                    8/25/2014   San Diego, CA
   Spaargaren, Frans                      Philips               8/27/2014   San Francisco, CA
   Hanrahan, James                        Thomson               8/27/2014   Indianapolis, IN
   Taylor-Boggs, Jacquelyn                Thomson               8/29/2014   Indianapolis, IN
   Hepburn, Alex                          Thomson                9/3/2014   Brooksville, FL
   Brunk, Jack                            Thomson                9/5/2014   Lancaster, PA
   Nakanishi, Norikazu                    Mitsubishi            9/18/2014   Chicago, IL
   Na, Young Bae                          LG                    9/23/2014   London, UK
   Bessa, Albino                          TDA                   10/2/2014   Phoenix, AZ
   De Lombaerde, Jan (Vol I - II)         Philips               10/9/2014   Washington, D.C.
   Bond, Clayton (Vol I - II)             Toshiba               10/16/2014 Deerfield, IL
   Kawano, Tomoyuki (Vol I - III)         Toshiba               10/27/2014 San Francisco, CA
   Hirschler, John                        Thomson               10/28/2014 Lancaster, PA
   Spaargaren, Franciscus                 Philips               11/5/2014   Washington, D.C.
   Milliken, Jack                         Toshiba               11/19/2014 San Francisco, CA
   Carson, Thomas                         Thomson/Technicolor   11/21/2014 Philadelphia, PA
   Ahn, Joon Seog (Vol I - III)           Samsung               12/2/2014   San Francisco, CA


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   DEPONENT                         DEFENDANT         DATE       LOCATION
   Murata, Koji (Vol I - II)        Mitsubishi       12/8/2014   Chicago, IL
   Konishi, Masahiko (Vol I - II)   Mitsubishi       12/10/2014 Chicago, IL
   Seki, Kunihiko (Vol I - II)      Mitsubishi       2/24/2015   Los Angeles, CA
   Martin, Agnes                    Thomson           3/6/2015   Paris, France
   Trutt, Didier                    Thomson           3/9/2015   Paris, France
   Charamel, Emeric                 Thomson          3/10/2015   Paris, France




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